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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

    DELROY A. CHAMBERS, JR.,

                  Plaintiff,
    vs.                                            Case No. 0:20-cv-62638-DPG

    WHIDDON AND COMPANY, INC.,
    doing business as BETTER HOMES AND
    GARDENS REAL ESTATE FLORIDA 1ST,

                  Defendant.
                                                       /

                   DEFENDANT, WHIDDON AND COMPANY, INC.’S
                  MOTION TO DISMISS AND MEMORANDUM OF LAW

           Defendant, WHIDDON AND COMPANY, INC., d/b/a BETTER HOMES AND

    GARDENS REAL ESTATE FLORIDA 1ST, by and through its undersigned counsel and

    pursuant to Fed. R. Civ. P. 12(b)(6), moves this Court to dismiss Plaintiff DELROY A.

    CHAMBERS, JR.’s Complaint and states as follows:

           1.     Plaintiff filed a one-count Complaint against Defendant for violation of the

    Fair Housing Act.

           2.     Plaintiff, a Black fair housing tester, inquired with Defendant’s employee,

    Marina Tieppo Amaral, about the rental of certain property. Compl. ¶¶11-12. The

    advertisement for the property stated “no criminal records” as a requirement for tenancy.

    Compl. ¶10.

           3.     Plaintiff asked Defendant for additional details about the “no criminal

    records policy.” Defendant confirmed that a potential tenant would be automatically
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    denied if they had a criminal record. Defendant told Plaintiff that this was a requirement

    of the property’s ownership association. Compl. ¶14.

             4.      Defendant advised Plaintiff that he would be denied rental of the property

    based on his criminal record. Compl. ¶15.

             5.      Based on this exchange, Plaintiff ceased negotiating with Defendant

    regarding the property. Compl. ¶16. This lawsuit followed.

             6.      Plaintiff’s Complaint fails to state a cause of action upon which relief can

    be granted and must therefore be dismissed under Rule 12(b)(6).

                                    MEMORANDUM OF LAW

        I.        Standard of Review

             When deciding a motion to dismiss under Rule 12(b)(6), the Court must accept as

    true all well-pleaded facts and draw all reasonable inferences in the light most favorable to

    the non-moving party. “To survive a motion to dismiss, the plaintiff’s pleading must

    contain sufficient factual matter, accepted as true, to state a claim to relief that is plausible

    on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550

    U.S. 544, 553 (2007). A claim is facially plausible when the Court can draw a reasonable

    inference from the facts pled that the opposing party is liable for the alleged misconduct.

    See Iqbal, 556 U.S. at 678. But “[f]actual allegations that are merely consistent with a

    defendant’s liability fall short of being facially plausible.” Chaparro v. Carnival Corp.,

    693 F.3d 1333, 1337 (11th Cir. 2012). When factual allegations are well-pleaded, the Court

    should assume their veracity and then determine whether they plausibly give rise to an

    entitlement for relief. Iqbal, 556 U.S. at 679.
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       II.      Legal Argument

             The Fair Housing Act makes it unlawful for any housing provider to “refuse to

    negotiate for the sale or rental of, or otherwise make unavailable or deny, a dwelling to any

    person because of race, color, religion, sex, familial status, or national origin.” 42 U.S.C.

    § 3604(a). A violation of section 3604(a) can be established by a showing of either

    discriminatory intent (sometimes called “disparate treatment”) or discriminatory impact

    (sometimes called “disparate impact”). See Metro. Hous. Dev. Corp. v. Vill. of Arlington

    Heights, 558 F.2d 1283, 1290 (7th Cir. 1977). Plaintiff cannot meet the standard under

    either claim, and therefore the Complaint must be dismissed.

       A. Discriminatory Intent

             A prima facie claim of “disparate treatment” or “discriminatory intent” under the

    Fair Housing Act can be established “by showing that animus against the protected group

    was a significant factor in the position taken by the … decision-makers themselves or by

    those to whom the decision-makers were knowingly responsive.”               Fortune Soc’y v.

    Sandcastle Towers Hous. Dev. Fund Corp., 388 F.Supp.3d 145, 177 (E.D.N.Y. 2019).

             In the Complaint, Plaintiff does not state any facts supporting a conclusion that the

    result of his one encounter with Defendant was motivated by anything other than the

    criminal record he disclosed. Significantly, “criminal record” is not a characteristic or class

    of persons protected by the Fair Housing Act. See Talley v. Lane, 13 F.3d 1031, 1034 (7th

    Cir. 1994). Absent evidence that consideration of a criminal record is used as a “pretext”

    for unlawful discrimination, no discriminatory “purpose” in violation of the Fair Housing

    Act is shown. See U.S. v. Collier, 2010 WL 3881381 at *10 (W.D. La. Sept. 28, 2019).
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    Facts supporting a claim of pretext might be, for example, allegations that a particular

    screening criterion is applied only to some applicants and not others, or that a deviation

    from a usual and customary practice correlates to a protected characteristic. See id.

           The only alleged discriminatory act on the part of Defendant is a single interaction.

    The Complaint includes no facts alleging that housing applicants not of Black race are not

    subject to the same criminal history screening criteria to which Plaintiff was. The

    Complaint also includes no facts alleging that any applicants from outside the claimed

    protected class are not “automatically denied” for any felony criminal conviction. Absent

    the allegation of any facially plausible facts that application of criminal history screening

    is a mere pretext for discrimination because of a protective characteristic, Plaintiff has not

    stated even a prima facie case of discriminatory treatment under the Fair Housing Act. No

    reasonable finder of fact could credibly conclude that Defendant’s alleged response to

    Plaintiff’s inquiry was motivated by anything other than Plaintiff’s disclosure that he had

    a criminal record. Plaintiff’s claim of unlawful or intentional discrimination (or unlawful

    disparate treatment) under the Fair Housing Act must be dismissed under Rule 12(b)(6).

       B. Disparate Impact

           Alternatively, a facially neutral practice or policy can be challenged under the Fair

    Housing Act as having an unlawful “disparate impact,” or discriminatory impact, because

    it “makes housing options significantly more restrictive for members of a protected group

    than for persons outside that group.” Hallmark Developers, Inc. v. Fulton Cty., Ga., 466

    F.3d 1276, 1286 (11th Cir. 2006). The Supreme Court found disparate impact claims

    cognizable under the Fair Housing Act in Tex. Dept. of Hous. & Cmty. Affairs v. Inclusive
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    Cmtys. Project, Inc., 576 U.S. 519 (2015) (“Inclusive Communities”). To state such a

    claim, a complaint must:

           (1) show statistically imbalanced lending patterns which adversely impact
               a minority group; (2) identify a facially neutral policy used by
               Defendants; (3) alleged that such a policy was “artificial, arbitrary, and
               unnecessary;” and (4) provide factual allegations that meet the “robust
               causality requirement” linking the challenged neutral policy to a
               specific adverse racial or ethnic disparity.

    City of Miami v. Bank of America Corp., 171 F. Supp.3d 1314, 1320 (S.D. Fla. 2016).

           Plaintiff’s Complaint fails to satisfy the “robust causality” requirement for a

    disparate impact claim. “A plaintiff who fails to allege facts at the pleading stage or

    produce statistical evidence demonstrating a causal connection cannot make out a prima

    facie case of disparate impact.” Inclusive Cmtys., 576 U.S. at 543. Plaintiff’s broad

    references to “recent data, studies and HUD findings” are insufficient. Since Plaintiff

    failed to state a prima facie case of disparate impact under the Inclusive Communities

    standard, Plaintiff’s claim should therefore be dismissed.

           WHEREFORE, for the reasons set forth above, Defendant respectfully requests this

    Court grant its Motion to Dismiss pursuant to Rule 12(b)(6).

    Dated: January 12, 2021

                                                  Respectfully submitted,

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                                                 ESTATE FLORIDA 1ST


                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via

    electronic filing using the CM/ECF system with the Clerk of the Court on January 12,

    2021, which sent e-mail notification of such filing to all CM/ECF participants.


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